Case 2:09-md-02047-EEF-MBN Document 464-6 Filed 11/18/09 Page 1 of 11

EXHIBIT B
Case 2:09-md-02047-EEF-MBN Document 464-6 Filed 11/18/09 Page 2 of 11

CLOSED, JURY

US. District Court
Eastern District of Virginia - (Norfolk)
CIVIL DOCKET FOR CASE #: 2:09-cv-00202-MSD-TEM

Germano et al v. Taishan Gypsum Co. Ltd. et al
Assigned to: District Judge Mark S. Davis
Referred to: Magistrate Judge Tommy E. Miller
Cause: 28:1332 Diversity-Product Liability

Plaintiff

Michelle Germano
individually, and on behalf of all others
similarly situated

Plaintiff

Dennis Jackson
individually, and on behalf of all others
similarly situated

Plaintiff

Date Filed: 05/01/2009

Date Terminated: 10/13/2009

Jury Demand: Both

Nature of Suit: 385 Prop. Damage Prod.
Liability

Jurisdiction: Diversity

represented by Frederick Steven Longer
Levin Fishbein Sedran & Berman
510 Walnut St
Suite 500
Philadelphia , PA 19106
(215) 592-1500
Fax: (215) 592-4663
Email: flonger@lfsblaw.com
LEAD ATTORNEY
PRO HAC VICE
ATTORNEY TO BE NOTICED

Richard James Serpe

Law Offices of Richard J. Serpe, P. C.
580 E Main St

Suite 310

Norfolk , VA 23510

(757) 233-0009

Fax: (757) 233-0455

Email: rserpe@serpefirm.com

LEAD ATTORNEY

ATTORNEY TO BE NOTICED

represented by Frederick Steven Longer
(See above for address)
LEAD ATTORNEY
PRO HAC VICE
ATTORNEY TO BE NOTICED

Richard James Serpe

(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Sharon Jack@aape 2:09-md-02047-EEF-MBN Daepresstiteby6Filetiedidh Sexe Longer of 11

individually, and on behalf of all others (See above for address)
similarly situated LEAD ATTORNEY

PRO HAC VICE

ATTORNEY TO BE NOTICED

Richard James Serpe
(See above for address)

LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Plaintiff
Jason Dunaway represented by Frederick Steven Longer
individually, and on behalf of all others (See above for address)
similarly situated LEAD ATTORNEY
PRO HAC VICE
ATTORNEY TO BE NOTICED
Richard James Serpe
(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Plaintiff
Lisa Dunaway represented by Frederick Steven Longer
individually, and on behalf of all others (See above for address)
similarly situated LEAD ATTORNEY
PRO HAC VICE
ATTORNEY TO BE NOTICED
Richard James Serpe
(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Defendant
Taishan Gypsum Co. Ltd.
formerly known as
Shandong Taihe Dongxin Co. Ltd.
Defendant
Venture Supply Inc. represented by Mark Charles Nanavati

Sinnott, Nuckols & Logan PC
13811 Village Mill Dr
Midlothian , VA 23114

(804) 378-7600

Email: mnanavati@snllaw.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Kenneth Francis Hardt
Sinnott, Nuckols & Logan PC
13811 Village Mill Dr
Midlothian , VA 23114

804 378-7600
Case 2:09-md-02047-EEF-MBN Document 464-€niaibckHardt@isallaRacan of 11

Defendant

Harbor Walk Development, LLC

Defendant

The Porter-Blaine Corp.

Defendant
Tobin Trading, Inc

Cross Claimant

Venture Supply Inc.

ATTORNEY TO BE NOTICED

represented by John Franklin , III

Taylor & Walker PC

555 Main St

PO Box 3490

Norfolk , VA 23514-3490

(757) 625-7300

Email:
JFRANKLIN@TAYLORWALKERLAW.COM

LEAD ATTORNEY
ATTORNEY TO BE NOTICED

represented by Mark Charles Nanavati

(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Kenneth Francis Hardt
(See above for address)
ATTORNEY TO BE NOTICED

represented by Theodore Ira Brenner

Brenner Evans & Millman PC
411 E Franklin St

PO Box 470

Richmond , VA 23218-0470
(804) 644-1300

Email: tbrenner@beylaw.com
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Alexander Spotswood de Witt
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(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Kenneth Francis Hardt
(See above for address)
Case 2:09-md-02047-EEF-MBN Document 464477TORNEM 1G/R8 NOE EDS 11

Cross Claimant

The Porter-Blaine Corp. represented by Mark Charles Nanavati

Cross Defendant

(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Kenneth Francis Hardt
(See above for address)
ATTORNEY TO BE NOTICED

Taishan Gypsum Co. Ltd.

Cross Defendant

Tobin Trading, Inc

represented by Theodore Ira Brenner
(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Alexander Spotswood de Witt
(See above for address)
ATTORNEY TO BE NOTICED

Date Filed

Docket Text

05/01/2009

COMPLAINT against Taishan Gypsum Co. Ltd., Venture Supply Inc., Harbor Walk
Development, LLC, The Porter-Blaine Corp. ( Filing fee $ 350 receipt number
24683002878.), filed by Michelle Germano, Dennis Jackson, Sharon Jackson, Jason
Dunaway, Lisa Dunaway. (Attachments: # 1 Civil Cover Sheet, # 2 Receipt, #3 cover letter)
(lwoo) (Entered: 05/04/2009)

05/05/2009

INO

Three Summonses with one copy each issued as to Venture Supply Inc., Harbor Walk
Development, LLC, The Porter-Blaine Corp and provided to counsel. (Attachments: # 1
Magistrate's notice and Judge's instructions)(lwoo) (Entered: 05/05/2009)

05/26/2009

Ju

AMENDED COMPLAINT against Taishan Gypsum Co. Ltd., Venture Supply Inc., Harbor
Walk Development, LLC, The Porter-Blaine Corp., and Tobin Trading Inc., filed by Michelle
Germano, Dennis Jackson, Sharon Jackson, Jason Dunaway, Lisa Dunaway (Serpe, Richard)
Modified on 6/19/2009 to add all plaintiffs as filers and to add names of defendants (mwin, ).
(Entered: 05/26/2009)

05/26/2009

AMENDED COMPLAINT against all defendants, filed by Tobin Trading, Inc.(Serpe,
Richard) (Entered: 05/26/2009)

05/26/2009

Notice of Correction re 4 Amended Complaint. The clerk's office was notified by counsel that
this document is a duplicate of document #3 and was filed in error. Document #4 has been
removed by the clerk. (lwoo) (Entered: 05/26/2009)

05/27/2009

[mn

Four Summonses with one copy each (Amended complaint) issued as to Venture Supply Inc.,
Harbor Walk Development, LLC, The Porter-Blaine Corp., Tobin Trading, Inc. and provided
to counsel. (Attachments: # 1 Magistrate's notice and Judge's instructions)(lwoo) (Entered:
05/27/2009)

05/27/2009

In

ANSWER to 1 Complaint, CROSSCLAIM against by The Porter-Blaine Corp.(Nanavati,

Case

AM MOated bE 5/28 2B 9 ho remnwve tl gata o& Hegh din bani om audi snfiésl-lsee notice
of correction (lwoo). (Entered: 05/27/2009)

05/27/2009

Im

ANSWER to | Complaint, CROSSCLAIM against by Venture Supply Inc..(Nanavati, Mark)
Modified on 5/28/2009 to remove language regarding motion to dismiss - see notice of
correction (lwoo). (Entered: 05/27/2009)

05/27/2009

loo

Financial Interest Disclosure Statement (Local Rule 7.1) by The Porter-Blaine Corp..
(Nanavati, Mark) (Entered: 05/27/2009)

05/27/2009

ko

Financial Interest Disclosure Statement (Local Rule 7.1) by Venture Supply Inc.. (Nanavati,
Mark) (Entered: 05/27/2009)

05/28/2009

Notice of Correction re 7 Answer to Complaint, Crossclaim, 6 Answer to Complaint,
Crossclaim. Both answers contain Motions to dismiss with briefs in support. The motions
should be filed as separate documents and not included with the answer. The filing user has
been notified to refile each motion with brief in support. (lwoo) (Entered: 05/28/2009)

05/28/2009

NOTICE of Appearance by Kenneth Francis Hardt on behalf of Venture Supply Inc. (Hardt,
Kenneth) (Entered: 05/28/2009)

05/28/2009

NOTICE of Appearance by Kenneth Francis Hardt on behalf of The Porter-Blaine Corp.
(Hardt, Kenneth) (Entered: 05/28/2009)

05/29/2009

Notice of Correction re 11 Notice of Appearance, 10 Notice of Appearance. The filing user
has been notified that the documents are not legible because they were filed in an improper
size. The document will need to be refiled only once in the proper size. (lwoo) (Entered:
05/29/2009)

05/29/2009

MOTION to Dismiss for Lack of Jurisdiction by Venture Supply Inc., The Porter-Blaine
Corp.. (Hardt, Kenneth) (Entered: 05/29/2009)

05/29/2009

MOTION to Dismiss by Venture Supply Inc., The Porter-Blaine Corp.. (Hardt, Kenneth)
(Entered: 05/29/2009)

05/29/2009

NOTICE of Appearance by Kenneth Francis Hardt on behalf of Venture Supply Inc., The
Porter-Blaine Corp. (Hardt, Kenneth) (lwoo, ). (Entered: 05/29/2009)

05/29/2009

Notice of Correction re 14 Notice of Appearance was filed again in an improper size. The
clerk has corrected the error. Please do not refile the document. (Iwoo) (Entered: 05/29/2009)

05/29/2009

Modified on 5/29/2009 - Docketed in error, No documents attached. (woo). (Entered:
05/29/2009)

06/01/2009

ANSWER to Complaint (Amended), CROSSCLAIM against by Venture Supply Inc., The
Porter-Blaine Corp..(Hardt, Kenneth) (Entered: 06/01/2009)

06/01/2009

MOTION to Dismiss for Lack of Jurisdiction with memorandum in support by Venture
Supply Inc., The Porter-Blaine Corp.. (Hardt, Kenneth) (Entered: 06/01/2009)

06/01/2009

MOTION to Dismiss with memorandum in support by Venture Supply Inc., The Porter-Blaine
Corp.. (Hardt, Kenneth) (Entered: 06/01/2009)

06/01/2009

Request for Hearing by Venture Supply Inc., The Porter-Blaine Corp. re 17 MOTION to
Dismiss for Lack of Jurisdiction with memorandum in support, 18 MOTION to Dismiss with
memorandum in support (Hardt, Kenneth) (Entered: 06/01/2009)

06/03/2009

THREE SUMMONS Returned Executed as to Venture Supply Inc. served on 5/14/2009;
Harbor Walk Development, LLC served on 5/26/2009; The Porter-Blaine Corp. served on
5/14/2009. (lwoo) Modified on 6/4/2009 to correct filing date (woo). (Entered: 06/04/2009)

06/03/2009 CaBb212

CPOWiGISVMONSEM Returhsecexectited 4-0 Ventatd- SUSPh Ine sag dd Un15/29/2009; The
Porter-Blaine Corp. served on 5/29/2009. (Amended Complaint) (lwoo) (Entered: 06/04/2009)

06/11/2009 22 | Summons with one copy issued as to Taishan Gypsum Co. Ltd. and provided to counsel.
(Attachments: # 1 Magistrate's notice and Judge's instructions)(Iwoo) (Entered: 06/11/2009)

06/11/2009 23 | AGREED ORDER that Plaintiffs have until 6/25/09 to file their response to Porter-Blain
Corporation and Venture Supply Inc.'s Rule 12(b)(1) and 12(b)(6) motions. Signed by District
Judge Mark S. Davis and filed on 6/11/09. (lwoo) (Entered: 06/11/2009)

06/12/2009 24 | Summonses with 2 certified copies issued as to Taishan Gypsum Co. Ltd. and provided to
counsel. (Amended Complaint) (Attachments: # 1 Magistrate's notice and Judge's
instructions)(lwoo) (Entered: 06/12/2009)

06/17/2009 25. | MOTION to Dismiss for Lack of Jurisdiction by Harbor Walk Development, LLC. (Franklin,
John) (Entered: 06/17/2009)

06/17/2009 26 | Brief in Support to 25 MOTION to Dismiss for Lack of Jurisdiction filed by Harbor Walk
Development, LLC. (Franklin, John) (Entered: 06/17/2009)

06/17/2009 27 | MOTION to Dismiss by Harbor Walk Development, LLC. (Franklin, John) (Entered:
06/17/2009)

06/17/2009 28 | Brief in Support to 27 MOTION to Dismiss filed by Harbor Walk Development, LLC.
(Franklin, John) (Entered: 06/17/2009)

06/17/2009 29 | MOTION for More Definite Statement by Harbor Walk Development, LLC. (Franklin, John)
(Entered: 06/17/2009)

06/17/2009 30 | Financial Interest Disclosure Statement (Local Rule 7.1) by Harbor Walk Development, LLC.
(Franklin, John) (Entered: 06/17/2009)

06/17/2009 31 | AFFIDAVIT of Daniel Levin by Sharon Jackson. (Serpe, Richard) (Entered: 06/17/2009)

06/18/2009 Notice of Correction re 31 Affidavit. The filing user has been notified to file a separate
Certificate of Service. (lwoo) (Entered: 06/18/2009)

06/18/2009 32 | CERTIFICATE of Service of Daniel Levin Affidavit, re 31 Affidavit by Richard James Serpe
on behalf of all plaintiffs (Serpe, Richard) (Entered: 06/18/2009)

06/19/2009 33 | MOTION Reissue Summons to Taishan Gypsum Co. LTD by Michelle Germanom, Dennis
Jackson, Sharon Jackson, Jason Dunaway, Lisa Dunaway. (Serpe, Richard) Modified on
6/19/2009 to add all filing parties (mwin, ). (Entered: 06/19/2009)

06/19/2009 34 | Memorandum in Support re 33 MOTION Reissue Summons to Taishan Gypsum Co. LTD
filed by Michelle Germano, Dennis Jackson, Sharon Jackson, Jason Dunaway, Lisa Dunaway.
(Serpe, Richard) Modified on 6/19/2009 to add all filers (mwin, ). (Entered: 06/ 19/2009)

06/19/2009 Notice of Correction re 3 Amended Complaint, 33 MOTION Reissue Summons to Taishan
Gypsum Co. LTD, 34 Memorandum in Support: The clerk will correct the docket entries to
add all plaintiffs as filers. Counsel has been requested to select all filers in future filings.
(mwin, ) (Entered: 06/19/2009)

06/24/2009 35 | NOTICE by Venture Supply Inc., The Porter-Blaine Corp. Letter to MDL Clerk (Hardt,
Kenneth) (Entered: 06/24/2009)

06/24/2009 36 | NOTICE by Venture Supply Inc., The Porter-Blaine Corp. re 35 NOTICE Notice of Objection
to MDL conditional transfer (Hardt, Kenneth) (Entered: 06/24/2009)

06/24/2009 37 | NOTICE by Venture Supply Inc., The Porter-Blaine Corp. re 35 NOTICE Corporate

disclosure filed with MDL Panel (Hardt, Kenneth) (Entered: 06/24/2009)

06/24/2009 Cabe 2

Remaha 206i da hinted DoMoOG (iKeissitdls oniAGy TdaaA Siskin Co. LTD
(mwin, ) (Entered: 06/24/2009)

06/25/2009

Notice of Correction re 37 NOTICE 36 NOTICE, are illegible documents (too small). The
filing user has been notified to refile the documents. (woo) (Entered: 06/25/2009)

06/25/2009

NOTICE by Venture Supply Inc., The Porter-Blaine Corp. re Notice of Correction Notice of
objection to conditional MDL transfer order (Hardt, Kenneth) (Entered: 06/25/2009)

06/25/2009

NOTICE by Venture Supply Inc., The Porter-Blaine Corp. re Notice of Correction Corporate
disclosure statement filed in MDL (Hardt, Kenneth) (Entered: 06/25/2009)

06/25/2009

Opposition to 17 and 18 , Porter-Blaine Corp. and Venture Supply Inc.'s Rule 12(b)(1) and 12
(b)(6) Motions filed by Michelle Germano. (Serpe, Richard) Modified on 6/26/2009 to link to
motions 17/18 (lwoo). (Entered: 06/25/2009)

06/26/2009

Notice of Correction re 40 Opposition. The filing user has been notified in future filings to
create a link to the motions. The link has been created by the Clerk's office. No further action
is required. (lwoo) (Entered: 06/26/2009)

06/29/2009

Rebuttal Brief re 17 MOTION to Dismiss for Lack of Jurisdiction with memorandum in
support, 18 MOTION to Dismiss with memorandum in support filed by Venture Supply Inc.,
The Porter-Blaine Corp.. (Attachments: # 1 Exhibit A - Contract Documents)(Hardt, Kenneth)
(Entered: 06/29/2009)

07/01/2009

Opposition to 25 MOTION to Dismiss for Lack of Jurisdiction, 26 Brief in Support filed by
Michelle Germano. (Serpe, Richard) (Entered: 07/01/2009)

07/01/2009

Opposition to 28 Brief in Support, 27 MOTION to Dismiss filed by Michelle Germano.
(Serpe, Richard) (Entered: 07/01/2009)

07/01/2009

RESPONSE in Opposition re 29 MOTION for More Definite Statement filed by Michelle
Germano. (Serpe, Richard) (Entered: 07/01/2009)

07/01/2009

Copy of Letter Filing Harbor Walk's Notice of Objection to Conditional Transfer Order.
(Franklin, John) Modified on 7/2/2009 to show as copy of letter (kgri) (Entered: 07/01/2009)

07/01/2009

NOTICE by Harbor Walk Development, LLC of Objection to Conditional Transfer Order
(Franklin, John) (Entered: 07/01/2009)

07/02/2009

Notice of Correction re 38 NOTICE, 39 NOTICE, 45 Letter, 46 NOTICE: The filing users
have been notified to refile these documents with proper case caption and number and which
include certificates of service with all required 9-element signature blocks. (kgri) (Entered:
07/02/2009)

07/06/2009

NOTICE by Venture Supply Inc., The Porter-Blaine Corp. re Notice of Correction,
(Attachments: # 1 Notice of MDL Objection, # 2 Letter to MDL Clerk re: Notice of
Objection)(Hardt, Kenneth) (Entered: 07/06/2009)

07/06/2009

NOTICE by Venture Supply Inc., The Porter-Blaine Corp. (Attachments: # 1 Letter to MDL
clerk, # 2 Motion to Vacate Conditional Transfer Order (MDL), # 3 Reasons for Oral
Argument (MDL))(Hardt, Kenneth) (Entered: 07/06/2009)

07/06/2009

RESPONSE in Support re 29 MOTION for More Definite Statement, 25 MOTION to Dismiss
for Lack of Jurisdiction, 27 MOTION to Dismiss filed by Harbor Walk Development, LLC.
(Attachments: # 1 Exhibit 1)(Franklin, John) (Entered: 07/06/2009)

07/07/2009

NOTICE by Venture Supply Inc., The Porter-Blaine Corp. (Attachments: # 1 Letter to MDL
Clerk)(Hardt, Kenneth) (Entered: 07/07/2009)

07/13/2009

SUMMONS Returned Executed as to Harbor Walk Development, LLC served on 6/9/2009

Case 2? Gonented Complamt\ Biod) Génteredt OG44@20PAPd 11/18/09 Page 9 of 11

07/14/2009

52

Response to 25 MOTION to Dismiss for Lack of Jurisdiction, 26 Brief in Support (Plaintiff
Supplemental Authority) filed by Michelle Germano. (Attachments: # 1 Exhibit "A" exhibits
from APS International, LTD)(Serpe, Richard) (Entered: 07/14/2009)

07/16/2009

NOTICE by Harbor Walk Development, LLC of MDL Filings (Attachments: # 1 Letter to
MDL, # 2 Motion to Vacate, # 3 Brief in Support of Motion, # 4 Oral Argument Request)
(Wiemken, Christopher) (Entered: 07/16/2009)

07/22/2009

MOTION to Dismiss, by Tobin Trading, Inc. (Brenner, Theodore) Modified on 8/7/2009 to
remove language regarding additional Motion for More Definite Statement (See Notice of
Correction) (lwoo). (Entered: 07/22/2009)

07/22/2009

Memorandum in Support re 54 MOTION to Dismiss 61 MOTION for More Definite
Statement filed by Tobin Trading, Inc. (Brenner, Theodore) Modified on 7/24/2009 to link to
#61 (woo). (Entered: 07/22/2009)

07/22/2009

NOTICE of Appearance by Alexander Spotswood de Witt on behalf of Tobin Trading, Inc (de
Witt, Alexander) (Entered: 07/22/2009)

07/22/2009

ANSWER to Complaint with Jury Demand by Tobin Trading, Inc.(Brenner, Theodore)
(Entered: 07/22/2009)

07/22/2009

ANSWER to Crossclaim by Tobin Trading, Inc.(Brenner, Theodore) (Entered: 07/22/2009)

07/22/2009

NOTICE by Tobin Trading, Inc of MDL Filings (Attachments: # 1 Exhibit 1 Letter to MDL, #
2 Exhibit 2 Motion & Brief, # 3 Exhibit 3 Reasons)(Brenner, Theodore) (Entered:
07/22/2009)

07/22/2009

CERTIFICATE of Service re 58 Answer to Crossclaim, 59 NOTICE, 57 Answer to
Complaint, 55 Memorandum in Support, 54 MOTION to Dismiss MOTION for More
Definite Statement by Theodore Ira Brenner on behalf of Tobin Trading, Inc (Brenner,
Theodore) (Entered: 07/22/2009)

07/23/2009

Notice of Correction re 54 MOTION to Dismiss MOTION for More Definite Statement
contains more than one pleading or motion for relief. The filing user has been notified to file
the document separately for each motion relief. (lwoo) (Entered: 07/23/2009)

07/23/2009

Notice of Correction re 56 Notice of Appearance does not contain a certificate of service. The
filing user has been notified to file a separate Certificate of Service. (woo) (Entered:
07/23/2009)

07/23/2009

MOTION for More Definite Statement by Tobin Trading, Inc. (Brenner, Theodore) (Entered:
07/23/2009)

07/23/2009

CERTIFICATE of Service re 56 Notice of Appearance by Alexander Spotswood de Witt on
behalf of Tobin Trading, Inc (de Witt, Alexander) (Entered: 07/23/2009)

08/04/2009

NOTICE by Venture Supply Inc., The Porter-Blaine Corp. (Attachments: # 1 Joint Reply
Memorandum in Support of Motion to Vacate Transfer (MDL), #2 Exhibits 1-5 to Reply
Memorandum)(Hardt, Kenneth) (Entered: 08/04/2009)

08/05/2009

NOTICE by Tobin Trading, Inc of MDL Filing (Attachments: # 1 Exhibit Letter to MDL
Panel, # 2 Exhibit Reply to Pls' Response to Mtn. to Vacate CTO)(Brenner, Theodore)
(Entered: 08/05/2009)

08/06/2009

Opposition to 55 Memorandum in Support, 54 MOTION to Dismiss 61 MOTION for More
Definite Statement of Tobin Trading filed by Michelle Germano. (Attachments: # 1 Exhibit A
to Plts Joint Res in Opposition to Tobin Motion to Dismiss)(Serpe, Richard) Modified on
8/7/2009 to include link to #61 (Iwoo). (Entered: 08/06/2009)

08/07/2009 Ca

be 2 OSatice OF CorrécdbaAiG65 Oppositiemt'Fitetntotiba dol disiiisso9asKeaignallyofiled as two

motions (See previous Notice of Correction). The second motion became document #61. The
clerk has linked the Opposition to both motions. No further action is necessary. (woo)
(Entered: 08/07/2009)

08/07/2009

NOTICE by Harbor Walk Development, LLC of MDL Filings (Attachments: # 1 Letter filing
Joint Reply, # 2 Joint Reply Memorandum)(Wiemken, Christopher) (Entered: 08/07/2009)

08/11/2009

Rebuttal Brief re 61 MOTION for More Definite Statement, 54 MOTION to Dismiss
MOTION for More Definite Statement (Reply to Dkt. No. 65 - Plaintiffs' Joint Response in
Opposition to Tobin Trading Inc.'s Motion for More Definite Statement and Motion to
Dismiss) filed by Tobin Trading, Inc. (de Witt, Alexander) (Entered: 08/11/2009)

08/25/2009

NOTICE by Venture Supply Inc., The Porter-Blaine Corp. of MDL Filing (Attachments: # 1
Defendants' Joint Supplemental Submission of New Evidence in Support of Motion to Vacate
(MDL), # 2 Letter to MDL Clerk, # 3 Exhibt to Submission (Complaint 1), # 4 Exhibit to
Submission (Complaint 2), # 5 Exhibit to Submission (Complaint 3), # 6 Exhibit to
Submission (Complaint 4), #7 Exhibit to Submission (Norfolk Ct Information))(Hardt,
Kenneth) (Entered: 08/25/2009)

08/25/2009

Notice of Correction re 68 NOTICE: Certain exhibits are not viewable. Counsel needs to
refile the document and all attachments, ensuring that all attachments are full-sized and
readable. (mwin, ) (Entered: 08/25/2009)

08/26/2009

NOTICE by Venture Supply Inc., The Porter-Blaine Corp. re Notice of Correction MDL filing
(Attachments: # 1 Supplemental Submission of New Evidence (MDL), #2 Letter to MDL
Clerk (Supplemental Submission), # 3 Exhibit (Complaint 1), # 4 Exhibit (Complaint 2), #5
Exhibit (Complaint 3), # 6 Exhibit (Complaint 4), # 7 Exhibit (Norfolk Docket Information))
(Hardt, Kenneth) (Entered: 08/26/2009)

09/04/2009

MOTION to Disqualify Counsel by Venture Supply Inc., The Porter-Blaine Corp..
(Attachments: # 1 Exhibit A, #2 Exhibit B, #3 Exhibit D, # 4 Exhibit E, # 5 Exhibit F, #6
Exhibit G, #7 Exhibit C1, # 8 Exhibit C2, # 9 Exhibit C3, # 10 Exhibit C4, # 11 Exhibit C5, #
12 Exhibit C6o)(Hardt, Kenneth) (Entered: 09/04/2009)

09/08/2009

NOTICE by Venture Supply Inc., The Porter-Blaine Corp. of MDL filing of Second
Supplemental Submission of New Evidence (Attachments: # 1 Second Supplemental
Submission of Evidence (MDL), # 2 Exhibit A to Second Submission, # 3 Exhibit B to
Second Submission, # 4 Letter to MDL Clerk (Second Submission))(Hardt, Kenneth)
(Entered: 09/08/2009)

09/09/2009

Request for Hearing by Venture Supply Inc., The Porter-Blaine Corp. re 70 MOTION to
Disqualify Counsel (Hardt, Kenneth) (Entered: 09/09/2009)

09/21/2009

MOTION REFERRED to Magistrate Judge: 70 MOTION to Disqualify Counsel (Iwoo)
(Entered: 09/21/2009)

09/21/2009

RESPONSE in Opposition re 70 MOTION to Disqualify Counsel filed by Michelle Germano.
(Attachments: # 1 Exhibit A, #2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)
(Serpe, Richard) (Entered: 09/21/2009)

09/22/2009

Notice of Hearing Date set for 10-09-2009 re 70 MOTION to Disqualify Counsel (Nanavati,
Mark) (Entered: 09/22/2009)

09/22/2009

Set Deadlines as to 70 MOTION to Disqualify Counsel. Motion Hearing set for 10/9/2009
02:00 PM in Norfolk Mag Courtroom 2 before Magistrate Judge Tommy E. Miller. (Iwoo)
(Entered: 09/22/2009)

09/22/2009

MOTION for Extension of Time to File Response/Reply as to Motions Referred, 73 Response
in Opposition to Motion To Disqualify by Michelle Germano. (Serpe, Richard) (Entered:

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09/22/2009

BD 2:099%23908Y-EEF-MBN Document 464-6 Filed 11/18/09 Page 11 of 11
6

Memorandum in Support re 75 MOTION for Extension of Time to File Response/Reply as to
Motions Referred, 73 Response in Opposition to Motion To Disqualify filed by Michelle
Germano. (Serpe, Richard) (Entered: 09/22/2009)

09/23/2009

SUMMONS Returned Executed as to Taishan Gypsum Co. Ltd. served on 8/3/2009.
(Amended complaint) (lwoo) (Entered: 09/23/2009)

09/24/2009

Rebuttal Brief re 70 MOTION to Disqualify Counsel filed by Venture Supply Inc., The
Porter-Blaine Corp.. (Attachments: # 1 Exhibit G to Rebuttal, # 2 Exhibit H To Rebuttal, #3
Exhibit I to Rebuttal)(Nanavati, Mark) (Entered: 09/24/2009)

09/25/2009

MOTION for Frederick Steven Longer to appear Pro hac vice by Michelle Germano, Dennis
Jackson, Sharon Jackson, Jason Dunaway, Lisa Dunaway. (Attachments: # 1 Receipt)(Iwoo)
(Entered: 09/25/2009)

09/25/2009

AGREED ORDER granting 75 Motion for Extension of Time to File Response/Reply.
Plaintiffs are permitted to late file their Response in Opposition to the Motion to Disqualify.
Signed by Magistrate Judge Tommy E. Miller and filed on 9/25/09. (lwoo) (Entered:
09/25/2009)

09/30/2009

ORDER granting 79 Motion for Pro hac vice Appointed Frederick Steven Longer for
Michelle Germano, Dennis Jackson, Sharon Jackson, Jason Dunaway and Lisa Dunaway.
Signed by District Judge Mark S. Davis and filed on 9/30/09. (Iwoo) (Entered: 09/30/2009)

10/06/2009

Advanced Copy of Transfer Order that pursuant to 28 U.S.C. 1407 these actions are
transferred to the Eastern District of Louisiana and assigned to the Honorable Eldon E. Fallon
for inclusion in the coordinated or consolidated pretrial proceedings occurring there in this
docket. (Iwoo) (Entered: 10/06/2009)

10/13/2009

MDL TRANSFER ORDER directing that this case be transferred to the Eastern District of
Louisiana and assigned to the Honorable Eldon E. Fallon for inclusion in the coordinated or
consolidated pretrial proceedings occurring there in this docket; for the panel John G.
Heyburn, II, Chairman. (Iwoo) (Entered: 10/15/2009)

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